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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In Re: RFC and ResCap Liquidating Trust              Court File No. 13-cv-3451 (SRN/HB)
Litigation


This document relates to:
                                                                   ORDER
Residential Funding Company, LLC v.
Premier Financial Services, Inc., No. 13-cv-
3493


       Pursuant to Plaintiff’s Rule 41(a)(1) Notice of Dismissal Without Prejudice [Doc.

No. 2525 in 13-cv-3451], IT IS HEREBY ORDERED that pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A), case no. 13-cv-3493 is hereby dismissed without prejudice

and without attorneys’ fees, costs and expenses to any of the parties to this action.


DATED: April 28, 2017
                                           s/Susan Richard Nelson
                                           SUSAN RICHARD NELSON
                                           United States District Judge
